Case 1:01-cv-12257-PBS Document 2770-2 Filed 06/23/06 Page 1 of 3




            ATTACHMENT
         (PROPOSED ORDER)
                    Case 1:01-cv-12257-PBS Document 2770-2 Filed 06/23/06 Page 2 of 3




                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS

                                                    )
             IN RE PHARMACEUTICAL INDUSTRY          )
             AVERAGE WHOLESALE PRICE                )
             LITIGATION                             )            MDL No. 1456
                                                    )
             ______________________________________ )            Civil Action No. 01-12257-PBS
                                                    )
             THIS DOCUMENT RELATES TO:              )            Judge Patti B. Saris
             ALL CLASS ACTIONS                      )
                                                    )
                                                    )
                                                    )


                                      [PROPOSED] ORDER CONCERNING
                                    SCHERING-PLOUGH CORPORATION'S
                                 MOTION TO STRIKE CERTAIN SUBJECT DRUGS

                           WHEREAS, Schering-Plough Corporation has shown good cause why certain of

             its products should be stricken from the Table of Subject Drugs in the Court's January 30, 2006

             Consolidated Order re: Class Certification ("Table of Subject Drugs");

                           IT IS HEREBY ORDERED THAT:

                           (1)     The following National Drug Codes ("NDCs") relating to Intron-A are

             stricken from the Table of Subject Drugs:

             •   00085064705                                     •   00085124201

             •   00085012002                                     •   00085125401

             •   00085012003                                     •   00085116801

             •   00085012004                                     •   00085064704

             •   00085118402                                     •   00085118401

             •   00085119102                                     •   00085119101

             •   00085123501                                     •   00085064703

10074500_1
                      Case 1:01-cv-12257-PBS Document 2770-2 Filed 06/23/06 Page 3 of 3




             •   00085012005
                                                                •   00085113301
             •   00085095301
                                                                •   00085117902
             •   00085076901
                                                                •   00085117901
             •   00085092301


                            (2)   All NDCs relating to Integrilin are stricken from the Table of Subject

             Drugs.




                                                        Patti B. Saris
                                                        United States District Judge


             Date:




10074500_1
                                                           2
